
PER CURIAM.
Christopher Hammonds appeals his sentence after entering a no contest plea. Because Hammonds failed to file a motion to withdraw his plea, we are without jurisdiction. See Hicks v. State, 915 So. 2d 740, 741 (Fla. 5th DCA 2005) ; accord Murphy v. State, 181 So. 3d 574 (Fla. 5th DCA 2015) ; Campos-Carriera v. State, 106 So. 3d 483 (Fla. 5th DCA 2013) ; Vestal v. State, 50 So. 3d 733, 735 (Fla. 5th DCA 2010) ; Bailey v. State, 21 So. 3d 147, 150 (Fla. 5th DCA 2009). But see Dortch v. State, 242 So. 3d 431, 433 (Fla. 4th DCA), review granted, SC18-681, 2018 WL 3635017 (Fla. July 11, 2018). Consequently, we dismiss the appeal *798without prejudice to Hammonds's right to seek appropriate and timely postconviction relief below.
DISMISSED.
ORFINGER, WALLIS and EISNAUGLE, JJ., concur.
